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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Darlene Andreasik
                               Plaintiff,
v.                                                     Case No.: 1:15−cv−07159
                                                       Honorable James B. Zagel
Ryan, LLC, et al.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, January 20, 2017:


         MINUTE entry before the Honorable Young B. Kim: In−person settlement
conference held. Parties were able to resolve the matter. All matters relating to the referral
of this action having been concluded, the referral is closed and the case is returned to the
assigned District Judge. Parties are urged to file their stipulation of dismissal with the
assigned District Judge as soon as possible. Mailed notice (ma,)




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